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                      EXHIBIT 22
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                                                                            Smith, Ruth (Smith) 4/12/2007 9:09:00 AM
                                                               1                                                                         -

   1         UNITED STATES DISTRICT COURT                                                                   3
              DISTRICT OF MASSACHUSETTS                            1               I N D E X
   2           MDL DOCKET NO. 1629                                 2      WITNESS                         PAGE
   3                                                               3    RUTH B. SMITH
   4   In re: NEURONTIN MARKETING, )                               4     Direct examination by Mr. Ferguson                  5
                       )                                           5
   5   SALES PRACTICES AND PRODUCTS ) DEPOSITION UPON              6            E X H I B I T S
                       ) ORAL EXAMINATION                          7    EXHIBIT        DESCRIPTION                    MARKED
   6   LIABILITY LITIGATION.   )     OF                            8    1    Copy of Medical Records with               4
                       ) RUTH B. SMITH                                       Handwritten Notations
   7                   )                                           9
                       ) VOLUME 1                                       2      Page from Questionnaire                 100
   8   _____________________________)
                                                                   10
   9
                                                                        3      Eckerd Rx Advisor                    142
  10
                                                                   11
  11
                                                                        4      Letter Written by Dr. Wood              159
  12
                                                                   12
  13            T R A N S C R I P T of the stenographic
                                                                        5      Copy of Handwritten Note                182
  14   notes of JANE LORFING COLWELL, a Certified Shorthand
                                                                   13
  15   Reporter and Notary Public of the State of New
                                                                   14
  16   Jersey, taken at the Four Points by Sheraton Newark
                                                                   15
  17   Airport, 901 Spring Street, Elizabeth, New Jersey, on
  18   Thursday, April 12, 2007, commencing at 9:09 a.m.           16
  19                                                               17
  20                                                               18
  21                                                               19
  22                                                               20
  23       REPORTING SERVICES ARRANGED THROUGH:                    21
              VERITEXT REPORTING COMPANY                           22
  24         25B Vreeland Road, Suite 301                          23
            Florham Park, New Jersey 07932                         24
  25                                                               25



                                                               2                                                                         4

   1   A P P E A R A N C E S:                                      1             (Exhibit 1, Copy of Medical Records with
   2      FINKELSTEIN & PARTNERS, LLP                              2        Handwritten Notations, marked for
          436 Robinson Avenue
   3      Newburgh, New York 12550                                 3        identification.)
          (800) LAW-AMPM                                           4             THE VIDEOGRAPHER: Good morning. My
   4      BY: ANDREW G. FINKELSTEIN, ESQ.
                                                                   5    name is Daniel McClutchy of Veritext/New Jersey. The
             afinkelstein@lawampm.com
   5      For the Plaintiffs Smith                                 6    date today is April 12, 2007, and the time is
   6      CLARK, THOMAS & WINTERS, A PROFESSIONAL                  7    approximately 9:09 a.m.
          CORPORATION
                                                                   8             This deposition is being held at the
   7      300 West 6th Street, 15th Floor
          P.O. Box 1148                                            9    Four Points Sheraton in Elizabeth, New Jersey, 901
   8      Austin, Texas 78767                                      10   Spring Street. The caption of this case is In re:
          (512) 472-8800
                                                                   11   Neurontin Marketing, Sales Practices and Products
   9      BY: KENNETH J. FERGUSON, ESQ.
             kjf@ctw.com                                           12   Liability Litigation in the U.S. District Court,
  10      For the Defendants Pfizer and Warner-Lambert             13   District of Massachusetts, Docket No. 1629, Master
  11
       A L S O P R E S E N T:                                      14   File No. 04109811. The name of the witness is Ruth
  12                                                               15   B. Smith.
         Daniel McClutchy, Videographer
                                                                   16            At this time the attorneys will identify
  13
  14                                                               17   themselves and the parties they represent, after
  15                                                               18   which our court reporter, Jane Colwell, will swear in
  16
                                                                   19   the witness and we can proceed.
  17
  18                                                               20            MR. FINKELSTEIN: On behalf of Richard
  19                                                               21   Smith, Ruth Smith, and the Smith family, Andrew
  20
                                                                   22   Finkelstein, Finkelstein Partners.
  21
  22                                                               23            MR. FERGUSON: Ken Ferguson, Clark,
  23                                                               24   Thomas & Winters, in Austin, Texas, representing
  24
  25                                                               25   Warner-Lambert and Pfizer.




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   1   with him at first. And Cindy followed him out, and I          1        Q      Your recollection is that it was a
   2   followed behind her.                                          2    prescription for Neurontin?
   3       Q     Now, Richard had been on pain                       3        A     Yes.
   4   medications before.                                           4        Q      Did he say anything about that
   5       A    Oh, yes.                                             5    prescription?
   6       Q     He had been on a variety of different               6        A     He didn't even say what it was for, pain
   7   pain medications.                                             7    or anything, that I recall.
   8       A    Mostly hydrocodone.                                  8        Q      He wrote it and handed it to you?
   9       Q     But he had been on other medications,               9        A     Cindy.
  10   pain medications as well?                                     10       Q      To Cindy?
  11       A    Yeah. Advil, if I remember. Advil.                   11       A     Uh-huh.
  12   And he had been given some Flexeril. I don't know             12       Q      While you were at the desk?
  13   what that was for. I think that was a muscle relaxer.         13       A     Yes.
  14      Q     Do you recall that he ever took Vioxx?               14       Q      Did he say anything?
  15      A     He may have taken that early, before                 15       A     No.
  16   this time. Not recently, no.                                  16       Q      So he wrote a prescription for
  17      Q     But for whatever reason, these other                 17   Neurontin, handed it to Cindy. You said "strutted
  18   pain medications we have talked about hadn't cured            18   off."
  19   his pain, had they?                                           19       A     Uh-huh.
  20      A     No.                                                  20       Q      But he didn't say a word that you can
  21      Q     So after the conversation with                       21   recall?
  22   Dr. Mackey -- have we covered everything you can              22       A     No. He just walked off.
  23   recall that Dr. Mackey told you, or the gist of what          23       Q      Did you all have any further
  24   he told you while you were in the room?                       24   conversation with him that day?
  25      A     Yes.                                                 25       A     No.



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   1       Q     Did he then get up and say, "Come with              1        Q      Did Cindy, to your knowledge, ask anyone
   2   me. I am going to write a prescription." Or did he            2    in Dr. Mackey's office what this prescription was,
   3   just get up and walked out?                                   3    what it was for?
   4       A    He just walked out.                                  4        A     No.
   5       Q     Cindy initially followed him?                       5        Q      Either on March 9 of '04 or shortly
   6       A    Yes.                                                 6    thereafter, to your knowledge, did Cindy ever go
   7       Q     And did you follow, then -- follow                  7    research what Neurontin was?
   8   Cindy?                                                        8        A     No.
   9       A    I decided I needed to get up and go out              9        Q      Did you?
  10   and see what was going on. That's when he was                 10       A     No. I had no reason to.
  11   writing a prescription.                                       11       Q      Did you all have a computer at home
  12       Q     Then did Buford and Richard stay in the             12   during this period of time?
  13   examining room?                                               13       A     Yes.
  14       A    Yes.                                                 14       Q      Did you all have an e-mail address?
  15       Q     So you went up to a desk or something?              15       A     I do.
  16       A    Where the nurses, you know. It's up                  16       Q      Did you back in 2004?
  17   high.                                                         17       A     Yes.
  18       Q     Did he just pull out a prescription pad             18       Q      And had you for a number of years?
  19   and start writing?                                            19       A     Yes.
  20       A    Uh-huh. Some doctors have where they                 20       Q      I figured you did, but I just have to
  21   print it off so it can be read very clearly. His was          21   get it out.
  22   written out.                                                  22             Did you ever do any medical research
  23       Q     So he physically wrote out a                        23   yourself, just looking into issues that you knew
  24   prescription?                                                 24   Richard had, or looking into medications that he had
  25       A    Yes.                                                 25   on the Internet?




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   1   looking for the date, and I'm sure it's there                 1        A    Right.
   2   somewhere.                                                    2        Q     Do you know -- do you have personal
   3              MR. FINKELSTEIN: It's on the upper                 3    knowledge as to whether your husband took this
   4   right.                                                        4    medication, the Neurontin prescription you picked up
   5       Q       And it's dated 3/9/04, the date we have           5    on March 9 of '04, in the way that the doctor had
   6   been talking about; correct?                                  6    prescribed it?
   7       A      Uh-huh.                                            7        A    I did know he did that.
   8       Q       Yes?                                              8        Q     How do you know that?
   9       A      Yes.                                               9        A    That was just the way he did things, and
  10       Q       Okay. So you had no conversation with             10   that's one reason I picked up the prescription that
  11   the person at the pickup window regarding the                 11   day, make sure he could start it.
  12   medication -- I'm sorry -- the drop-off window. You           12       Q     So you didn't observe him take it each
  13   then dropped it off. When did you come back and pick          13   time he took it; correct?
  14   the medication up?                                            14       A    At this time I can't recall whether I
  15       A      That afternoon. I don't know exactly               15   observed him every time, but he usually kept it on
  16   what time. It was later on that afternoon.                    16   the dinette table, and that's where he would take it.
  17       Q       When you picked it up, did you go inside          17       Q     But your knowledge about how he normally
  18   or did you pick it up at the outside window?                  18   conducted himself was that he would take it as the
  19       A      Picked it up at the drive-through.                 19   doctor prescribed?
  20       Q       When you picked it up, did you have any           20       A    Absolutely.
  21   conversation with the person who handed it to you             21       Q     So did he take his first dosage that
  22   about the medication?                                         22   very day?
  23       A      No.                                                23       A    Yes.
  24       Q       Did you ask any questions?                        24       Q     On March 9?
  25       A      No.                                                25       A    Yes.



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   1       Q       And was the document that I'll go ahead           1        Q     Say in the first week after you picked
   2   and -- I won't mark it until we copy it, but we'll            2    up this prescription when you believe according to
   3   call it Exhibit 3 --                                          3    his normal practice he was taking the medication as
   4              (Exhibit 3, Eckerd Rx Advisor, marked              4    prescribed, did he report any changes in his pain
   5        for identification.)                                     5    level?
   6       Q       The Exhibit 3, was that attached to the           6        A    No.
   7   prescription bottle?                                          7        Q     Did he report any other changes,
   8       A      Yes.                                               8    anything else unusual, feelings, moods, et cetera?
   9       Q       Did you personally ever review the                9    Again, I am talking about the first week after this.
  10   information that is in Exhibit 3? Did you at any              10       A    No.
  11   time before your husband took any of the pills in the         11       Q    Did you ever -- kind of fast forwarding
  12   bottle review this?                                           12   here, not to confuse you -- but at any time between
  13       A      We read the side effects.                          13   March 9, when you picked up this prescription, and
  14       Q       So did you personally read this, the              14   the time your husband died, did you have any
  15   side effects at least?                                        15   discussion with him where he was reporting any
  16       A      I probably did. I don't recall reading             16   unusual thoughts or feelings that he in his
  17   it myself, but Richard is pretty good at reading side         17   conversation with you associated with Neurontin, this
  18   effects.                                                      18   medication he was taking?
  19       Q       You don't recall reading it, but you              19            MR. FINKELSTEIN: What time frame? I'm
  20   think Richard's usual practice would be to read it?           20   sorry.
  21       A      Yes.                                               21            MR. FERGUSON: I was talking about from
  22       Q       You didn't see him read this one?                 22   March 9 of 2004, when she picked up this
  23       A      No.                                                23   prescription, up until the time of his death.
  24       Q       But it was his usual practice; is that            24            MR. FINKELSTEIN: Okay.
  25   fair?                                                         25       A    I am going to say possibly three weeks,




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   1   and he had never even talked about anything like              1    I mean, you know, I didn't belabor over it.
   2   this. He said -- we sat at the dinette table. We              2          Q   Do you know one way or the other whether
   3   were eating lunch, I think. And he said, "Honey, do           3    he was or was not taking Neurontin at this time,
   4   you think God would forgive me if I just do away with         4    about three weeks before his death?
   5   myself."                                                      5          A   He was taking it.
   6              And I said, "Honey, what on earth are              6          Q   How do you know that?
   7   you talking about? Do you realize what a burden that          7          A   Well, Dr. McCombs had given him samples
   8   would leave on your family?" Of course I didn't               8    of it, and he also told my son-in-law, Wes Carnahan,
   9   think anything about the connection of Neurontin or           9    that on May the 8th, and the reason I remember it was
  10   the connection with even him maybe being serious,             10   the weekend that Cindy's birthday, and we always get
  11   taking his life.                                              11   together, and he related to Wes that he was -- felt
  12              And the only other time that I recall              12   loopy, like, was the word he used.
  13   was we had left church, and we were going to eat or           13         Q   This conversation with Wes was the
  14   something, and he looked over at me and he said,              14   weekend of May 8?
  15   "Honey, I don't know what's wrong with me. There's            15         A   Yes.
  16   something wrong with my mind. I don't think like I            16         Q   And Wes's last name is?
  17   used to." And that's the things that he said to me.           17         A   Carnahan, C-A-R-N-A-H-A-N.
  18   And I didn't connect it with Neurontin. I didn't              18         Q   He told Wes that he felt loopy?
  19   connect it with -- I just thought connecting with his         19         A   He told him he was on -- he stated, "I'm
  20   pain that he felt that way.                                   20   on Neurontin, and it makes me feel loopy."
  21       Q       And the two conversations you just told           21         Q   Was loopy a term he used other times,
  22   us about, he didn't connect it with Neurontin either.         22   other context?
  23       A      No.                                                23         A   Probably.
  24       Q       And I'll come back to these in just a             24         Q   From your knowledge of him in using that
  25   minute, but what I am trying to understand is did you         25   term before, what did he mean by that?



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   1   ever have a conversation with him where he connected          1          A   I guess sort of -- I honestly don't know
   2   any feelings he was having with Neurontin himself?            2    what he meant by it.
   3       A      No. Not -- not myself that I recall.               3          Q   The episode at the kitchen table about
   4   You know.                                                     4    three weeks before his death, nothing else about that
   5       Q       And tell me, let's talk about these two           5    other than his comment and your comment that we have
   6   episodes that you talked about. You said one was,             6    talked about?
   7   you said, three weeks. Is that --                             7          A   It was so -- off the cuff that I just
   8       A      I am going to say about three weeks                8    said what I just told you. And that was just end of
   9   before.                                                       9    it.
  10       Q       Three weeks before his death?                     10         Q   Did you report that comment to your
  11       A      Yes. Uh-huh.                                       11   daughters?
  12       Q       So three weeks before his death you all           12         A   Yes, I'm sure I did.
  13   were sitting, the two of you --                               13         Q   What was their response?
  14       A      Uh-huh.                                            14         A   I don't know what they thought then, but
  15       Q       -- sitting at the dining table?                   15   when we look back, hindsight's a lot different. They
  16       A      Yes.                                               16   said they wished that they had paid more attention or
  17       Q       And he asked if you thought God would             17   something to that effect.
  18   forgive him if he did away with himself?                      18         Q   And the other episode, and I forget if
  19       A      Right.                                             19   you told me when that happened, when he said "I don't
  20       Q       And you pointed out that that would               20   know what's wrong with me," when was that one?
  21   leave a huge burden for his family to deal with.              21         A   That was one Sunday after church when we
  22       A      Sure.                                              22   were going out to eat lunch.
  23       Q       What further conversation took place              23         Q   When was that in relationship to the
  24   there?                                                        24   time of his death?
  25       A      I guess it just sort of ended with that.           25         A   I don't really recall the exact date,




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